    Case: 1:20-cv-00982 Document #: 19 Filed: 06/16/20 Page 1 of 5 PageID #:92
                                                                                                 yE

                      IN THE UNITED STATES DISTRICT GOURT
                                                                                  C E IVE D
                            NORTHERN D|STR|CT OF           |LLINO|S
                                                                'OJil#:
                                                                        JUN                       tt
                                                                                        16 2020
                                                                             THOMAS G. BRUTON
Kevin Lobdell,                                                            CLERK, U.S. DISTRICT COURT

              Plaintiff,                                 Case No. 20 C 982

      vs.

Superior Metal Products, et. al,                         Judge Kennelly

             Defendants.


                                    Amended ComPlaint

       NOW COMES Plaintifi, Kevin Lobdell, with an amended complaint before the
Court concerning case f20 C 982 for sexual harassment'

        plaintiff did properly file a complaint with the EEOC and it was investigated. (See
Attached). plaintitf receiveO his Right to Sue in November of 2019 and was given 90
days to fiie his lawsuit. plaintiff spend most of those 90 days searching for an attorney
to iepresent him, to no avai!. Attorney Edwardo Gil assisted Plaintiff in his search,
telling plaintiff he should not file this iase himself. Near the end of the 90 days, Plaintiff
*as ib6 by another lawyer to get the case filed, even if Plaintiff had to file it himself.
        plaintiff also filed his complaint with the lllinois Department of Human Rights'
Their investigation is still ongoing'

                                           Facts

        plaintiff began working at Superior Metal Products in September of 2018, as a
machine operator. plaintiff OiO nis job to the best of his ability every day and his rates
were always on track. The QualityControl Supervisor or shop foreman did not check
his rates. When Plaintiff asked her, the quality controlsupervisor Maribel Perez ,why
they didn't check his rates she told him he was doing fine and didn't need to have his
*oik checked. Within two months of his being hired, Plaintiff was doing so well at his
position as machine operator that the plant manager , Jim Popek moved Plaintiff to
iloater. As a floater he worked in many areas of the company including shipping,
delivery driver, inventory clerk, fork lift driver and other areas where an extra hand was
needed. plaintiff did nol receive any complaints about his work from the plant manager,
owners, or any other supervisors in the plant.

      The management and owners of Superior Metal Products are white, and
everyone on the inop floor is Mexican other than plaintiff and the truck driver. Plaintiff
     Case: 1:20-cv-00982 Document #: 19 Filed: 06/16/20 Page 2 of 5 PageID #:93




believes that race played a part in this complaint as while plaintiff was doing all the jobs
he was assigned to do everything was ok with upper management. When it was seen
that plaintiff Lssociated well with the other workers that were nonwhite is when the
trouble began and the accusations of plaintiff having sex with Maribel Perez a mexican
woman began. This opened the door to reverse discrimination.

        Plaintiff was told from the beginning of his employment that he was always
welcome to come to the office and voice any concerns he had to Beth and Brian. They
were very agreeable and listened to the concerns he had about safety issues and other
problems in tne plant. When the investigation to the sexual harassment complaint was
conctuded and Jim Popek was found guilty plaintiff was denied admittance to the front
office.

       ln Decemb er 2018, the staff of Superior Metal Products had a Christmas party,
which many of the staff members attended. Afew days after the party, the plant
manager Jim Popek accused Plaintiff of f"**ing coworker Maribel Perez. Jim was
allegedly told by another female coworker that Ms. Perez was sitting on Plaintiff's lap at
tne bnristmas party, and Jim told Plaintiff "l know you are f""*ing Maribel." Plaintiff told
Jim he was not f**"ing Maribel and his sex life was none of Jim's business.

        Plaintiff was harassed for months by Jim, until Plaintiff went to Maribel and told
her he was going to file a complaint with ADP for sexual harassment, per the company
guidelines. Maribel, who is a Mexican woman, told Plaintiff she had been sexually
harassed by Jim for the past 3 years, and her complaints to the owners went
unanswered. Maribel also stated her sister had been sexually harassed by the previous
plant manager and her complaints were ignored by the owners. Plaintiff filed a sexual
harassmenfcomplaint with ADP with Maribel Perez as a cocomplainent. The complaint
was investigated and Jim was found guilty of sexual harassment but there was no
discipline given as far as plaintiff knows.

        Plaintiff believes he was racially discriminated against, under Title Vll of the Civil
Rights Act of 1964, because he was a white male trying to allegedly have sex with a
Mexican woman and that issue went against the personal beliefs of Jim Popek. Plaintiff
was always treated better than the other shop floor workers even though he was just a
part-time shop worker, because he is a white male. The Mexicans working for Superior
Metal Products were treated poorly and their complaints were ignored. Plaintitf comes
in as a white male, doing the same quality of work as the Mexicans, but he was
promoted within t\rvo months. However, once Jim felt the Plaintiff was trying to sleep
with a Mexican woman, Plaintiff was just a "man slut" and he was no better than the
Mexicans he was hanging out with.

       Once the investigation was concluded, and Jim was found guitty of sexual
harassment, the retaliation began. The ADP investigator sent all her private
correspondence with Plaintiff to the owners and plant manager. Jim was able to see
what Plaintiff's complaint was and the witnesses against Jim. He was able to retaliate
against those people and he did. Shortly after the close of the investigation, Plaintiff's
     Case: 1:20-cv-00982 Document #: 19 Filed: 06/16/20 Page 3 of 5 PageID #:94




hours were reduced from 25 to 15 hours per week. The only other people whose hours
were cut were the witness in the sexual harassment complaint and the ltalian man in
shipping. Plaintiff was also demoted to production, and he was no longer used as a
floater in other areas of the shop. The shop delivery driver asked Jim if he could use
Plaintiff to fill in for him for a day, and Jim said "Kevin is no longer allowed to drive for
you." Plaintiff's break time was changed so he was no longer able to "associate with the
Mexicans." He was isolated from his coworkers and treated as'just another Mexican"
because Plaintiff was associating with and allegedly sleeping with a Mexican woman.
Plaintiff , for lack of a better explanation ,was stripped of his white privilege because he
filed a complaint for sexual harassment that pertained to him having sex with a Mexican
woman.

         Plaintiff voiced concerns to Beth and Brian Warren when he discovered Jim was
applying for his conceal carry permit. This was shortly after the shooting in Aurora,
lllinois at Henry Pratt in February 2019. Beth stated Jim had a right to carry a gun to
work but she did put a sign on the shop door "No Guns." This meant Jim could not
carry the gun into the shop but could carry it to work and keep it in his car. Plaintiff was
told by the Warrens that Jim had military training and was within his rights to carry a gun
to woik. This issue only exacerbated the current circumstances and put plaintiff's safety
at risk and further placed plaintiff in a position of fear every day he went to work.

                                            Complaint

This accusation of being a promiscuous person violates his right to privacy and invades
his sex life. What he does sexually outside of the work place and who he does it with
and of whatever race he chooses to have sex with is not the concern of the plant
manager or any other person in the work place. His sexual preference based on his
gender is his own choice and he is not to be discriminated against in the work place or
any other place for that matter. lllinois has a zero tolerance policy against sexual
haiassment in the work place and Jim Popek, the plant manager, crossed that line by
accusing Plaintiff of having sex with a Mexican female coworker without proof and
without the right to do so. Plaintiff is protected under the law in being able to defend
himsetf against sexual comments or allegations in the workplace that are not allowed
and that slur his person, as in referring to him as a "man sluf and insult his gender and
reputation

       Plaintiff was sexually harassed and discriminated against based on his race and
gender under Title Vll of the Civil Rights Act of 1964. Plaintiff was one of only two white
males on the shop floor. The other white mde was the truck driver, who by his own
admission only has a 6th grade education. The Plaintiff is a middle-class white mde
with a college education. Allthe other shop workers are Mexican, including the shop
foreman and quality control supervisor. The plant manager and owners are middle-
class white males, except the owner's wife. There are no other white people in the
production area. Plaintiff was treated as "one of the boys" in the "elite white circle." He
was promoted within iust two months of starting at the company, and he was doing jobs
  Case: 1:20-cv-00982 Document #: 19 Filed: 06/16/20 Page 4 of 5 PageID #:95




the Mexicans were not allowed to do, even though they were with the company a lot
longer.

       Plaintiff was stripped of his "white privilege" as soon as the plant manager Jim
Popek thought Plaintitf was sleeping with a Mexican woman. Plaintiff was constantly
accused of t***ing Maribel", implying Plaintiff was nothing more than a man slut looking
for sex from a Mexican woman. When the Mexican women in the shop were being
harassed they complained to Brian Warren to no avail. Any concerns they had about
the shop were also ignored. Once Plaintiff began to talk with the Mexican women
during breaks and outside work, it was assumed by Jim Plaintiff was trying to get sex
from them. Jim treated the Plaintiff as if he were just another Mexican working in the
shop and the owners no longer listened to Plaintiff's complaints.

         Plaintiff was expected to discuss his sexual conquests as "one of the boys" but
instead Plaintiff was offended by Jim's accusations. This is gender discrimination
because it is culturally expected that men discuss their sexual prowess in the workplace
and brag about who they are sleeping with or trying to sleep with. This presupposes that
plaintiff is a manslut and not a person respectful of the female gender. Plaintiff was not
"one of the boys" because he did not appreciate Jim's accusations and filed a sexual
harassment complaint.
  Case: 1:20-cv-00982 Document #: 19 Filed: 06/16/20 Page 5 of 5 PageID #:96




                      DECLARATION UNDER PENALTY OF PEHJURY

        The undersigned declares under penalty of periury that he is the Plaintiff in the
above action, that he as read the above complaint, and that the above complaint and
the information contained therein is true and correct. 28 U.S.C. 1746; 18 U.S.C. 1621.
